         Case 2:21-cv-00977-CRE Document 10 Filed 09/27/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                        §
                                                §
       Plaintiff                                §
                                                §
v.                                              §   CASE NO. 2:21-cv-00977 CRE
                                                §
PERRY HOMES, INC.                               §   Magistrate Judge Cynthia Reed Eddy
ALLYSON WHITTINGTON, and                        §
ROBERT WHITTINGTON                              §
                                                §
       Defendants                               §

                     AGREED MOTION FOR EXTENSION OF TIME

       Perry Homes, Inc., Allyson Whittington and Robert Whittington request that their time to

answer or otherwise respond to the Complaint herein be extended to October 12, 2021. The

plaintiff has agreed to this request, which is made to give the parties adequate time to confer as

required by this Court’s Order of July 26, 2021 [Dkt. 4] concerning the Defendants’ proposed

Motion to Dismiss.

       Signed on September 27, 2021

ATTORNEYS FOR DEFENDANTS

_______________________________                     ___________/s/____________________
Richard M. Hunt                                     Jen Gilliland Vanasdale
Texas State Bar No. 10288700                        Pennsylvania Bar No. 87407
rhunt@hunthuey.com                                  jennifer@gvlawoffice.com
PRO HAC VICE                                        Gary T. Vanasdale
                                                    Pennsylvania Bar No. 87802
HUNT HUEY PLLC                                      gary@gvlawoffice.com
3333 Lee Parkway, Suite 600
Dallas, Texas 75219                                 Gilliland Vanasdale Sinatra Law Office,
Telephone: (214) 641-9182                           LLC
Facsimile: (214) 279-6124                           257 South Main Street
                                                    Butler, PA 16001
                                                    724.741.0536 phone│724.741.0538 fax




AGREED MOTION FOR EXTENSION OF TIME                                                     Page 1 of 2
        Case 2:21-cv-00977-CRE Document 10 Filed 09/27/21 Page 2 of 2




ATTORNEYS FOR PLAINTIFF


__________/s/______________________      ________________/s/__________________
Jacqueline C. Brown                      Beth Pepper
Assistant United States Attorney         Trial Attorney
Civil Division                           Housing and Civil Enforcement Section
Office of the U.S. Attorney              Civil Rights Division
Western District of Pennsylvania         U.S. Department of Justice
700 Grant Street, Suite 4000             150 M. Street NE
Pittsburgh, PA 15219                     Washington DC, 20002
Tel: (412) 894-7565                      202-305-0916
Mobile: (412) 721-8693                   Fax: 202-514-1116
E-mail: jacqueline.c.brown@usdoj.gov     Email: beth.pepper@usdoj.gov
PA Bar No. 330010




AGREED MOTION FOR EXTENSION OF TIME                                   Page 2 of 2
